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15                               UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17
     IN RE: ROUNDUP PRODUCTS                  ) MDL No. 2741
18   LIABILITY LITIGATION                     )
                                              ) Case No. 3:16-md-02741-VC
19                                            )
                                              ) MONSANTO COMPANY’S
20   Hardeman v. Monsanto Co., et al.,        ) OPPOSITION TO PLAINTIFFS’
     3:16-cv-0525-VC                          ) MOTION IN LIMINE NO. 5 TO
21   Stevick v. Monsanto Co., et al.,         ) EXCLUDE CERTAIN U.S. EPA
     3:16-cv-2341-VC                          ) DOCUMENTS RELATING TO
22   Gebeyehou v. Monsanto Co., et al.,       ) GLYPHOSATE’S CARCINOGENICITY
     3:16-cv-5813-VC                          )
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     MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 5 TO EXCLUDE CERTAIN U.S. EPA
                    DOCUMENTS RELATING TO GLYPHOSATE’S CARCINOGENICITY
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 1                                             INTRODUCTION
 2          The Court should deny Plaintiffs’ motion in limine to exclude U.S. EPA documents
 3   relating to glyphosate’s carcinogenicity and should not exclude such documents in Phase 2 of the
 4   trial.1 These records squarely fall within the official agency record exception to the hearsay rule,
 5   Federal Rule of Evidence 803(8)(c). The documents are additionally admissible for non-hearsay
 6   purposes, e.g., to demonstrate the generally accepted state of the science concerning glyphosate
 7   and the reasonableness of Monsanto’s conduct. Nor do they risk injecting unnecessary confusion
 8   or undue prejudice. Rather, they help present to the jury the entire scientific and regulatory
 9   picture, issues that the jury must invariably assess in Phase 2 of the trial.
10          Plaintiffs’ argument for excluding the EPA documents cannot be squared with the fact that
11   Plaintiffs’ own case rests on the findings of an IARC working group—a foreign scientific panel
12   that diverged from the widely accepted scientific consensus to classify glyphosate as a “probable”
13   human carcinogen. Plaintiffs want to admit the IARC classification for its truth, yet claim here
14   that the official EPA findings to the contrary, including those compiled and reviewed after the
15   IARC report (and in response to it) that refute IARC’s key finding, would be more prejudicial than
16   probative.   No conception of fairness would allow Plaintiffs to present to the jury IARC’s
17   conclusion but prevent the jury from hearing the mountain of contrary evidence, including the
18   official U.S. government position, that refutes it.2 Plaintiffs’ motion in limine to exclude certain
19   EPA reports should be denied.
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       As explained in Monsanto’s MIL No. 1, and its opposition to Plaintiffs’ MIL No. 4, Monsanto
23
     does not believe that findings of any organization should be admitted in Phase 1 of the trial, which
24   focuses exclusively on the issue of causation. However, if the Court admits the IARC
     classification in Phase 1, it must also admit these EPA documents and foreign regulatory
25   determinations.
26   2
      The IARC report should be excluded wholesale for independent reasons, which are set forth in
     Monsanto’s Motion in limine No. 1.
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 1                                               ARGUMENT
 2      A. The EPA Documents Are Official Reports.
 3          Federal law provides that government regulatory reports and documents are not hearsay.
 4   Federal Rule of Evidence 803(8)(c) allows for the admission of official agency records, which
 5   means that “EPA reports are generally admissible under Rule 803(8)(c).” Palmisano v. Olin
 6   Corp., No. 03-cv-016070-RMW, 2005 WL 6777560, at *3 (N.D. Cal. June 24, 2005) (quoting
 7   O’Dell v. Hercules, Inc., 904 F.2d 1194, 1206 (8th Cir. 1990)). On that basis, federal courts
 8   routinely admit EPA position papers and other reports. See Coates, 844 F. Supp. at 1134; U.S. v.
 9   Northernaire Planting Co., 670 F. Supp. 742, 743 (W.D. Mich. 1987) aff’d sub nom. United States
10   v. R.W. Meyer, Inc., 889 F.2d 1497 (6th Cir. 1989) (“The reports of the EPA and the MDNR
11   clearly fall within the purview of this section.”).
12          The EPA documents at issue satisfy the necessary criterion to be admitted into evidence.
13   They were drafted by EPA employees and memorialized a recent official determination by the
14   Agency.    Indeed, many of the documents at issue were drafted by the Office of Pesticide
15   Programs, the “part of EPA” that “administers FIFRA [pesticide regulation].” Was. Toxics Coal v.
16   E.P.A., 357 F. Supp. 2d 1266, 1268 (W.D. Wash. 2004). This government entity is presumptively
17   trustworthy for its legally appointed purposes. See Coates v. AC&S, Inc., 844 F. Supp. 1127, 1134
18   (E.D. La. 1994).
19          Plaintiffs claim that they nonetheless should be excluded because the documents
20   themselves contain hearsay material and that their admission would be unduly prejudicial. Both
21   arguments fail.     First, these documents are not inadmissible simply because they contain
22   evaluative or normative findings. See, e.g., In re Aircrash in Bali, Indonesia, 871 F.2d 812, 816
23   (9th Cir. 1989) (holding that an FAA report was properly admitted over a challenge that it
24   “evaluative or normative” findings); see also Jenkins v. Whittaker Corporation, 785 F.2d 720, 726
25   (9th Cir. 1986) (“[c]onclusions and opinions do not render reports ipso facto inadmissible”).
26   Moreover, Plaintiffs’ claim that these are undisclosed expert opinions likewise is without merit or
27   authority. By Plaintiffs’ logic, no scientific literature would ever be admissible unless the author
28                                                         2
     MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 5 TO EXCLUDE CERTAIN U.S. EPA
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 1   was a retained expert witness and had been cross-examined by the opposing party. That is not the
 2   law.
 3          Second, the admission of these documents is not unduly prejudicial simply because they do
 4   not help support Plaintiffs’ theory of the case. To the contrary, the real prejudice would occur to
 5   Monsanto if the documents were excluded.         Plaintiffs cannot credibly claim that U.S. EPA
 6   findings and reports are unduly prejudicial but IARC findings to the contrary are not. Plaintiffs
 7   have not met their burden of demonstrating that the EPA documents should be excluded.
 8      B. The Documents Are Additionally Admissible For Other, Non-Hearsay Purposes.
 9          The EPA’s regulatory conclusions represent important evidence that is admissible for a
10   secondary reason: they show the state of generally accepted science and demonstrate the
11   reasonableness of the conduct of Monsanto employees.            For these reasons, which are not
12   arguments about the truth of matter asserted in the documents, the EPA records are not barred by
13   hearsay.
14          Plaintiffs’ strict liability failure-to-warn claim hinges on whether carcinogenetic risks were
15   “known or knowable in light of the scientific knowledge that was generally accepted in the
16   scientific community at the time of” the manufacture or sale of glyphosate. See CACI 1205.
17   Thus, it is appropriate and necessary for Monsanto to submit evidence of the state of scientific
18   information at the time it is alleged to have violated its duty to warn. See Anderson v. Owens-
19   Corning Fiberglas Corp., 53 Cal. 3d 987, 1004 (1991) (“a defendant in a strict products liability
20   action based upon an alleged failure to warn of a risk of harm may present evidence of the state of
21   the art, i.e., evidence that the particular risk was neither known nor knowable by the application of
22   scientific knowledge available at the time[.]”); see also Rosa v. City of Seaside, 675 F. Supp. 2d
23   1006, 1012 (N.D. Cal. 2009) (considering “two publications” including “a report prepared for the
24   United States Department of Justice in 1999” to determine whether TASER device was generally
25   known to have a risk). The EPA reports bear directly on the state of generally accepted scientific
26   knowledge. When offered for this purpose, these documents are not offered for their truth, and
27   thus do not fall within the hearsay rule.
28                                                    3
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 1          The EPA documents are also admissible to defend against negligence and punitive
 2   damages claims, by showing the effect of the documents on the mental state of Monsanto’s
 3   scientists and to show that Monsanto acted reasonably in accordance with authoritative regulatory
 4   opinion. These claims require establishing whether Monsanto “knew or reasonably should have
 5   known” that the products at issue were dangerous and whether “a reasonable manufacturer” under
 6   the same circumstances would have warned of the danger. See CACI 1222. Regardless of the
 7   truth or falsity of the EPA reports, they are relevant to show the reasonableness of Monsanto’s
 8   behavior. See Holland v. Union Pacific R. Co., 154 Cal. App. 4th 940, 947 (2007) (“[T]hese
 9   statements were not offered as proof of the facts that they contained. Rather this is a typical
10   example of the nonhearsay use of an extrajudicial statement to prove the hearer obtained certain
11   information by hearing the statement and, believing the information to be true, acted in conformity
12   with such a belief.”). The OPP Reports are relevant and admissible to show why Monsanto
13   believed there was an overwhelming scientific consensus to rebut the IARC report and that it
14   behaved in a manner consistent with that belief.       Regardless of the truth of the documents, they
15   show that Monsanto acted reasonably and not maliciously, and squarely refute the central
16   contentions of Plaintiffs’ claims on negligence and for punitive damages.
17                                            CONCLUSION
18          For the foregoing reasons, Monsanto respectfully requests that the Court deny the motion
19   to exclude the EPA reports relating to glyphosate’s carcinogenicity.
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 1                                   CERTIFICATE OF SERVICE
 2                 I HEREBY CERTIFY that on this 23rd day of January 2019, a copy of the

 3   foregoing was served via electronic mail to opposing counsel.

 4

 5                                                 /s/ Brian L. Stekloff

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